 

Case 3:17-cv-01565-RDM Document16 Filed 01/04/18 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

Joanne Brogan, Docket 3:17-cv-01565-RDM
Plaintiff, (JUDGE ROBERT D. MARIANI)
v.
ARS National Services, Inc., FILED ELECTRONICALLY
Defendant.
ORDER

Counsel having filed a stipulation of dismissal, it is hereby ordered.

that this case is dismissed without costs and

  

 

obert D, Mariani
nited States District Judge

FILED

JAN - 4 261%

PER (NGA
Case 3:17-cv-01565-RDM Document16 Filed 01/04/18 Page 2 of 2
Case 3:17-cv-01565-RDM Document15 Filed 01/04/18 Page lofi

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

Joanne Brogan, Docket 3:17-cv-01565-RDM
Plaintiff, (JUDGE ROBERT D, MARIANT)
Vv.
ARS National Services, Inc., FILED ELECTRONICALLY
Defendant.
Stipulati f Dismissal

Please dismiss this action without costs and with prejudice.

/ Carlo Sabatini
Carlo Sabatini: PA 83831
Attorney for Plaintiff
Sabatini Law Firm, LLC
216 N, Blakely St.
Dunmore, PA 18512
Phone (570) 341-9000
Facsimile (570) 504-2769

Email e¢f@bankruptcypa.com

s/ Michael Hynum
Michael Hynum: PA 85692
Attorney for Defendant
Hynum Law

2608 North 3rd Street
Harrisburg, PA 17110

Phone (717) 774-1357
Facsimile (717) 774-0788

Email mhynum@Hynumpc.com
